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AO 451 (Rev, 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the
Southern District of Florida

SHARON WEINSTOCK, et al.,

Plaintiff
Vv.
HAMAS - ISLAMIC RESISTANCE MOVEMENT
Defendant

Civil Action No. 17-cv-23272

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CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 05/17/2019

I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Jun 27, 2019 cES DIS] be Ceriified to be a true and
ee a : correct copy-of the document on file
Angela E. Noble, Clerk,
US. District Court
Southern Disttiet cf Florida

By____ Patrick Edwards

Deputy Clerk
Date _Jun-27, 2019

Date:

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Angela E. Noble, Giorke a
’ :

United States District Court
for the
Southern District of Florida

Sharon Weinstock, et al.,

Plaintiffs,

)
)
)
v. ) Civil Action No, 17-23272-Civ-Scola
)
Islamic Republic of Iran and )
Hamas-Islamic Resistance )
Movement, Defendants. )

Judgment

For the reasons set forth in the Final Default Judgment entered on May 6,
2019 (ECF No. 55), it is hereby ORDERED and ADJUDGED that this Court
GRANTS Plaintiffs’ Motion for Default Judgment against Defendant Hamas -
Islamic Resistance Movement (“Hamas”).

The Court hereby enters judgment against Hamas in the amounts
specified below, for a total compensatory damages award of $26,291,000, which
is trebled pursuant to the Antiterrorism Act, 18 U.S.C. § 2333(a) for a total award
of $78,873,000. Specifically:

1. Sharon Weinstock is awarded $5,000,000 in compensatory damages.

This amount is trebled pursuant to the Antiterrorism Act, 18 U.S.C.
§2333(a), for a total award of $15,000,000 to Sharon Weinstock.

2. The Estate of Dov Weinstock is awarded $5,000,000 in compensatory
damages. This amount is trebled pursuant to the Antiterrorism Act, 18
U.S.C. §2333(a), for a total award of $15,000,000 to the Estate of Dov
Weinstock.

3. Moshe Weinstock is awarded $2,500,000 in compensatory damages.
This amount is trebled pursuant to the Antiterrorism Act, 18 U.S.C.
§2333(a), for a total award of $7,500,000 to Moshe Weinstock.

4. Geula Weinstock is awarded $2,500,000 in compensatory damages.
This amount is trebled pursuant to the Antiterrorism Act, 18 U.S.C.
§2333(a), for a total award of $7,500,000 to Geula Weinstock.

5. Aryeh Weinstock is awarded $2,500,000 in compensatory damages.
This amount is trebled pursuant to the Antiterrorism Act, 18 U.S.C.
§2333(a), for a total award of $7,500,000 to Aryeh Weinstock.

6. Chaim Mishael Weinstock is awarded $2,500,000 in compensatory
damages. This amount is trebled pursuant to the Antiterrorism Act, 18
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U.S.C. §2333(a), for a total award of $7,500,000 to Chaim Mishael
Weinstock.

7. The Estate of Rabbi Simon Dolgin is awarded $2,500,000 in
compensatory damages. This amount is trebled pursuant to the
Antiterrorism Act, 18 U.S.C. §2333(a), for a total award of $7,500,000

to the Estate of Rabbi Simon Dolgin.

8. The Estate of Shirley Dolgin is awarded $2,500,000 in compensatory
damages. This amount is trebled pursuant to the Antiterrorism Act, 18
U.S.C. §2333(a), for a total award of $7,500,000 to the Estate of Shirley

Dolgin.
9. The Estate of Yitzchak Weinstock is awarded $1,291,000

compensatory damages. This amount is trebled pursuant to the
Antiterrorism Act, 18 U.S.C. §2333(a), for a total award of $3,873,000

to the Estate of Yitzchak Weinstock.

Done and ordered in chambers at Miami, Florida, on May 16, 2019.

obert N. Scola, Jr.
United States District Judge
